Case 6:17-cv-02206-CEM-GJK Document 262 Filed 07/28/20 Page 1 of 3 PageID 7707




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


 NUVASIVE, INC.,

                        Plaintiff,

 v.                                                              Case No: 6:17-cv-2206-Orl-41GJK

 ABSOLUTE MEDICAL, LLC, GREG
 SOUFLERIS, DAVE HAWLEY,
 ABSOLUTE MEDICAL SYSTEMS,
 LLC and RYAN MILLER,

                        Defendants.
                                              /

                                              ORDER

        THIS CAUSE is before the Court on Plaintiff’s Motion for Clarification (“Motion,” Doc.

 261). Previously, after a hearing, this Court directed the parties to file new motions for summary

 judgment in this case on or before July 27, 2020. (June 10, 2020 Endorsed Order, Doc. 252). In its

 Order, the Court did not specify when responses to the motions for summary judgment would be

 due. Plaintiff now requests clarification as to whether the responses are due within thirty days, as

 specified in the Amended Case Management and Scheduling Order, (“Amended CMSO,” Doc.

 193, at 6), or within fourteen days, as specified by Local Rule 3.01(b). If the Local Rules govern,

 Plaintiff requests an extension of the fourteen-day deadline.

        The Court notes that it is inclined to grant Plaintiff’s Motion. However, the Court finds the

 Local Rule 3.01(g) certification in the Motion to be concerning. Local Rule 3.01(g) commands

 that, subject to enumerated exceptions that do not apply here, “any motion in a civil case” shall

 contain certification that the moving party conferred with the opposing party “in a good faith effort

 to resolve the issues raised by the motion.” Ordinarily, “[c]ounsel who merely ‘attempt’ to confer




                                             Page 1 of 3
Case 6:17-cv-02206-CEM-GJK Document 262 Filed 07/28/20 Page 2 of 3 PageID 7708




 have not ‘conferred.’” (Doc. 193 at 4). However, opposing counsel also have a duty to “respond

 promptly to inquiries and communications from opposing counsel.” (Id. (citing Board of

 Governors of the Florida Bar, Ideals and Goals of Professionalism, ¶ 6.10 and Creed of

 Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org (Professional

 Practice - Henry Latimer Center for Professionalism))).

        Here, Plaintiff certifies that it has endeavored to confer with Defendants on three separate

 days by email and on two days by phone, leaving a voicemail message each time. (Doc. 261 at 2).

 Additionally, Plaintiff states that counsel for Defendant has responded to other inquiries but has

 not responded to the conferral request for the instant Motion. (Id.). The Court finds Plaintiff’s

 genuine attempts at communicating with Defendants to be a good faith conferral as contemplated

 by the Local Rules and the Amended CMSO. Additionally, the Court reminds counsel for

 Defendants of his duty to act with professionalism and to respond promptly to inquiries and

 communications from opposing counsel.

        Accordingly, it is ORDERED and ADJUDGED that Plaintiff’s Motion for Clarification

 (Doc. 261) is GRANTED in part. Plaintiff’s request for an extension is GRANTED, and Plaintiff

 may have thirty days within which to respond to Defendants’ Motion for Summary Judgment. On

 or before August 19, 2020, Plaintiff may file a Response to Defendants’ Motion for Summary

 Judgment. Defendants’ response deadline of fourteen days remains unchanged. Additionally, each

 party may file a Reply that complies with the deadlines and requirements set forth in the Amended

 CMSO.




                                            Page 2 of 3
Case 6:17-cv-02206-CEM-GJK Document 262 Filed 07/28/20 Page 3 of 3 PageID 7709




        DONE and ORDERED in Orlando, Florida on July 28, 2020.




 Copies furnished to:

 Counsel of Record




                                      Page 3 of 3
